    Case 21-13720-MBK                     Doc 35         Filed 08/12/22 Entered 08/12/22 09:13:29                                   Desc Main
                                                        Document      Page 1 of 6
 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

 CXE 22-028603
 LOGS Legal Group LLP
 14000 Commerce Parkway, Suite B
 Mount Laurel, NJ 08054
 (856) 793-3080
 ATTORNEYS FOR Nationstar Mortgage LLC

 In Re:                                                                             Case No.: 21-13720-MBK

 DOMINIC LUSARDI,                                                                   Judge: HONORABLE MICHAEL B.
                                              DEBTOR                                KAPLAN

                                                                                    Chapter: 13

                       TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby
gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for
security, of the claim referenced in this evidence and notice.


 Nationstar Mortgage LLC                                                  Community Loan Servicing, LLC
      Name of Transferee                                                      Name of Transferor

Name and Address where notices to transferee                              Court Claim # (if known): 6-1
should be sent:                                                           Amount of Claim: $222,104.26
Nationstar Mortgage LLC                                                   Date Claim Filed: 07/12/21
P.O. Box 619096
Dallas, TX 75261-9741

Phone: 1-888-480-2432                                                     Phone: 1-866-709-3400
Last Four Digits of Acct #: 5448                                          Last Four Digits of Acct #: 8031

Name and Address where transferee payments
Should be sent (if Different from above):
Nationstar Mortgage LLC
P.O. Box 619094
Dallas, TX 75261-9741

Phone: 1-888-480-2432
Last Four Digits of Acct #:5448

I declare under penalty of perjury that the information provided in this notice is true and correct to the best of
my knowledge and belief.

 By:        /s/Elizabeth L. Wassall                                         Date:      8-11-2022
           Kathleen M. Magoon - 040682010
           Elizabeth L. Wassall - 023211995
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

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 CXE 22-028603
 LOGS Legal Group LLP
 14000 Commerce Parkway, Suite B
 Mount Laurel, NJ 08054
 (856) 793-3080
 ATTORNEYS FOR Nationstar Mortgage LLC

 In Re:                                                          Case No.: 21-13720-ABA

 DOMINIC LUSARDI,                                                Judge: HONORABLE MICHAEL B.
                                   DEBTOR                        KAPLAN

                                                                 Chapter: 13


                                        CERTIFICATION OF SERVICE

I,    Matthew A. Windedahl         the undersigned
1.           represent the                                 in the above-captioned matter.

             am the secretary/paralegal for Kathleen M. Magoon, Esquire and Elizabeth L. Wassall,
          Esquire, who represents the Secured Creditor in the above-captioned matter.
             am the                                in the above case and am representing myself.

2.        On 08/11/2022            , I sent a copy of the following pleadings and/or documents to the parties
          listed in the chart below:
                 TRANSFER OF CLAIM.

3.        I hereby certify under penalty of perjury that the above documents were sent using the mode
          of service indicated.


                                                          Signature

 Dated:          08/11/2022                                 /s/Matthew A. Windedahl

                                                          Printed Name
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                                               Relationship of Party
 Name and Address of Party Served                   to the Case          Mode of Service
 William H. Oliver, Jr.
 2240 State Highway 33                                                       Hand-delivered
 Suite 112
                                                                             Regular Mail
 Neptune, NJ 07753
                                                                             Certified mail/RR
                                                                             E-mail
                                                                             Notice of Electronic Filing (NEF)
                                                                             Other
                                                                             (as authorized by the court*)
 Albert Russo
 Standing Chapter 13 Trustee                                                 Hand-delivered
 CN 4853
                                                                             Regular Mail
 Trenton, NJ 08650
                                                                             Certified mail/RR
                                                                             E-mail
                                                                             Notice of Electronic Filing (NEF)
                                                                             Other
                                                                             (as authorized by the court*)
 Dominic Lusardi
 701 Carol Avenue                                                            Hand-delivered
 Oakhurst, NJ 07755
                                                                             Regular Mail
                                                                             Certified mail/RR
                                                                             E-mail
                                                                             Notice of Electronic Filing (NEF)
                                                                             Other
                                                                             (as authorized by the court*)

                                                                             Hand-delivered
                                                                             Regular Mail
                                                                             Certified mail/RR
                                                                             E-mail
                                                                             Notice of Electronic Filing (NEF)
                                                                             Other
                                                                             (as authorized by the court*)
* May account for service by fax or other means as authorized by the court through the issuance of an Order Shortening
Time.
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                             Document      Page 5 of 6
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                             Document      Page 6 of 6
